                      RESOLUTION OF THE SHAREHOLDERS OF
                                  J-H-J, INC.

        The undersigned, being all shareholders of J-H-J, Inc. (the “Company”), do hereby resolve
the following:

        1.      IT IS HEREBY RESOLVED that The Steffes Firm, LLC, Attorneys at Law, be and
they are hereby appointed as attorneys at law to represent the Company in its best interests, and
that of its creditors, with full power and authority in their absolute discretion to take whatever
necessary legal action, steps, and procedures they deem necessary, including the filing of the
petition and all necessary pleadings, documents, and financial information or schedules available
and data necessary pursuant to placing this company in a proceeding pursuant to Chapter 11 of
Title 11, United States Code, and that said attorneys are to be compensated for their services and
expenses on the basis of their usual fee and expense schedule.

        2.     IT IS FURTHER RESOLVED that Garnett C. Jones, Jr., President of the Company,
be and is hereby authorized and directed to execute any and all documents, petitions, and necessary
pleadings for and on behalf of the Company, to execute and supply the necessary financial
information and sign and execute the necessary schedules and all data required pursuant to Chapter
11 of Title 11, United States Code, and to appear before the United States Bankruptcy Court on
behalf of the Company.

Dated: November 15, 2019                     J-H-J, Inc.


                                             By: /s/ Garnett C. Jones, Jr.
                                                 Garnett C. Jones, Jr., shareholder


                                             By: /s/ Ted Harvey
                                                 Ted Harvey, shareholder


                                             By: /s/ Jeff Jones
                                                 Jeff Jones, shareholder




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